Case 0:24-cv-60382-DSL Document 40 Entered on FLSD Docket 07/31/2024 Page 1 of 5




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                    CASE NO. 0:24-CV-60382-LEIBOWITZ/AUGUSTIN-BIRCH


  JESSICA PIAFSKY,

            Plaintiff,

  v.

  MB HOME IMPROVEMENTS, INC., et al.,

        Defendants.
  ________________________________________/

                          ORDER SETTING DISCOVERY PROCEDURES

            The Honorable David S. Leibowitz, United States District Judge, has referred discovery

  matters in this case to the undersigned United States Magistrate Judge. The parties are hereby

  notified that the following procedures apply to discovery disputes before this Court. These

  procedures are designed to assist the parties and the Court in working together to timely and fairly

  resolve discovery disputes without undue delay and unnecessary expense. The procedures in this

  Order do not relieve parties of the requirements of any Federal Rule of Civil Procedure or Local

  Rule except as noted.

            The Court expects all parties to act courteously and professionally and to engage in

  reasonable compromise to facilitate the resolution of discovery disputes. The Court may impose

  appropriate sanctions upon a finding of failure to comply with this Order or of other discovery

  misconduct.

       I.        PROCEDURES FOR DISCOVERY DISPUTES

            A.     Pre-Hearing Conferral. If a discovery dispute arises, counsel must actually speak

  to one another (in person or via telephone or videoconference) in a genuine effort to resolve the
Case 0:24-cv-60382-DSL Document 40 Entered on FLSD Docket 07/31/2024 Page 2 of 5




  dispute before seeking Court intervention. Email correspondence or leaving a voicemail message

  does not alone constitute adequate conferral. The Court expects all parties to act in good faith to

  attempt to resolve a discovery dispute prior to scheduling a hearing. Even after a hearing has been

  scheduled, the Court expects the parties to continue to pursue a resolution of disputed matters. If

  those efforts are successful, counsel should contact Chambers as soon as practicable to timely

  cancel the hearing. If the parties resolve some, but not all, of the disputed matters before the

  hearing, counsel shall timely contact Chambers to provide notice about which issues are no longer

  in dispute.

         B.      Scheduling a Discovery Hearing. If, after conferring, the parties are unable to

  resolve a discovery dispute without Court intervention, then a party may seek a hearing by

  contacting Chambers at (954) 769-5460 to place the matter on an available discovery calendar.

  The Court will provide the telephoning party with available dates and times for a hearing. That

  party shall confer with opposing counsel to confirm availability and then contact Chambers again

  to finalize the hearing date and time. The Court will thereafter enter an Order scheduling the

  hearing. The longer a party waits to contact Chambers to finalize a hearing date, the more likely

  it is that the hearing date will no longer be available. At the Court’s option, the hearing may be

  held in person or by video conference.

         C.      Discovery Motions. On the same day that a party finalizes a hearing date, that

  party shall file through the Court’s electronic filing system (CM/ECF) a concise discovery motion

  of no more than three pages. The discovery motion shall (1) state with specificity the substance

  of the discovery matter(s) to be heard; (2) include citation to the best supporting legal authority;

  (3) certify that the parties have complied with the pre-hearing conferral requirement set forth

  above; and (4) attach a copy of all source materials relevant to the discovery dispute (e.g., if the



                                                   2
Case 0:24-cv-60382-DSL Document 40 Entered on FLSD Docket 07/31/2024 Page 3 of 5




  dispute concerns interrogatories, the interrogatories at issue and any responses thereto shall be

  attached). The responding party shall file a response of no more than three pages within two

  business days of receiving the discovery motion. The initiating party may file a reply of no more

  than two pages within one business day of receiving the response.

           D.     Noncompliance. No party may file a discovery motion, including a motion to

  compel or motion for protective order, unless the party has complied with the above procedures.

  The Court will deny a discovery motion if the filing party has not complied with these procedures.

           E.     Participation by Less-Experienced Attorneys. Ordinarily, only one attorney for

  each party may argue at a discovery hearing. However, the Court has a strong commitment to

  supporting the development of our next generation of attorneys and encourages the participation

  of less-experienced attorneys during court proceedings. Should a party advise the Court prior to

  the beginning of a hearing that an attorney with five or fewer years of experience will be arguing

  a matter, the Court will permit multiple attorneys to argue on that party’s behalf.

     II.        SCOPE OF DISCOVERY AND OBJECTIONS

           A.     Rule 26(b)(1). Federal Rule of Civil Procedure 26(b)(1) defines the scope of

  permissible discovery as follows:

           Parties may obtain discovery regarding any nonprivileged matter that is relevant to
           any party’s claim or defense and proportional to the needs of the case, considering
           the importance of the issues at stake in the action, the amount in controversy, the
           parties’ relative access to relevant information, the parties’ resources, the
           importance of the discovery in resolving the issues, and whether the burden or
           expense of the proposed discovery outweighs its likely benefit. Information within
           the scope of discovery need not be admissible in evidence to be discoverable.

           Any objection that a discovery request is not reasonably calculated to lead to admissible

  evidence is an objection that is based on an outdated discovery standard. Such an objection is

  meaningless and will be found meritless by this Court. An objection based on relevance or



                                                   3
Case 0:24-cv-60382-DSL Document 40 Entered on FLSD Docket 07/31/2024 Page 4 of 5




  proportionality must include a specific explanation describing why the requested discovery lacks

  relevance and/or why the requested discovery is disproportionate in light of the factors set out in

  Rule 26(b)(1).

         B.        Boilerplate or General Objections. The parties shall not make nonspecific,

  boilerplate objections. See, e.g., S.D. Fla. L.R. 26.1(e)(2)(A) (“Where an objection is made to any

  interrogatory or subpart thereof or to any production request under Federal Rule of Civil Procedure

  34, the objection shall state with specificity all grounds.”); Fed. R. Civ. P. 33(b)(4) and

  34(b)(2)(B). The parties also shall not make general objections that are not tied to a particular

  discovery request. Such objections are meaningless and will be found meritless by this Court.

         C.        Vague, Overly Broad, and Unduly Burdensome. Objections stating that a

  discovery request is “vague, overly broad, or unduly burdensome” are, standing alone,

  meaningless and will be found meritless by this Court. A party objecting on these grounds shall

  specifically explain the particular way in which the request is vague, overly broad, or unduly

  burdensome. In addition, claims of undue burden shall be supported by a statement (generally an

  affidavit) with specific information demonstrating how the request is overly burdensome.

         If a party believes that a request or a term is vague, that party shall attempt to obtain

  clarification from opposing counsel prior to objecting on the ground of vagueness. If a party asserts

  that a request seeks irrelevant material, the objection shall say so and explain why. If a party

  asserts that a request seeks material that is relevant but excessive or cumulative, the objection shall

  state that the request is disproportionate and explain why. If a party believes that a discovery

  request seeks information that is irrelevant, unduly broad, burdensome, or disproportionate, that

  party shall confer in good faith with opposing counsel to narrow the scope of the request before




                                                    4
Case 0:24-cv-60382-DSL Document 40 Entered on FLSD Docket 07/31/2024 Page 5 of 5




  asserting an objection and shall provide discovery as to those matters for which scope or burden

  is not contested.

          D.     Formulaic Objections Followed by an Answer. The parties shall not recite a

  formulaic objection followed by an answer to the request. It has become common practice for a

  party to object on the basis of any of the above reasons and then state that, notwithstanding the

  objection, the party will respond to the discovery request, subject to or without waiving the

  objection. This type of objection and answer preserves nothing and serves only to waste the time

  and resources of the parties and the Court. Furthermore, such practice leaves the requesting party

  uncertain as to whether the question has been fully answered.

          E.     Objections Based on Privilege. Generalized objections asserting attorney-client

  privilege or work-product doctrine do not comply with the Local Rules. The parties are instructed

  to carefully review and comply with Local Rule 26.1(e)(2) when asserting a privilege. If a party

  fails to prepare a privilege log when required, the Court may deem an objection based on privilege

  waived.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Florida, this 31st day of July,

  2024.



                                                       ___________________________________
                                                       PANAYOTTA AUGUSTIN-BIRCH
                                                       UNITED STATES MAGISTRATE JUDGE




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